 

CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions on the | FORM APPROVED
reverse side and supply information requested on both sides of this OMB NO.
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for 1105-0008
additional instructions.

 

 

 

1. Submit To Appropriate Federal Agency: 2. Name, Address of claimant and claimant's personal representative, if

Pine Ridge Indian Health Service, PO Box 1201, Pine Ridge, SD 57770: DHHS oeiee instructions on reverse.) (Number, Street, City, State and Zip

US Dept. of Indian Health Services, Office of General Counsel Claims Office, 330 Vernell Buckman, Claimant on
’ , ' behalf of the Estate of Cheryi Ann
Independent Ave., SD, Room 4256, Wilbur Cohen Federal Bidg., Washington, Buckman (Deceased), PO Box 665, New Town, ND Sa7eN. Robin L
DC 20201; Director, Aberdeen Area Indian Health Service, Room 309, Federal Zephier, Esaq., Re resentative PO 9 id Ci ‘
' : , ” , 460, Rapid City, S
Bidg., 115 4th Ave, SE, Aberdeen, SD 57401 is 4 i‘ apn. SO S708

 

3. TYPE OF EMPLOYMENT =| 4. DATE OF BIRTH_ | 5. MARITAL STATUS | 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
OMILITARY ¢XCIVILIAN 12-16-1962 Single January 12, 2008 N/A

 

 

 

 

 

8. Basis of Claim (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the
place of occurrence and the cause thereof. Use additional pages if necessary.)

(Please See Attached)

 

9. PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).
N/A

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY BE INSPECTED.
(See Instructions on reverse side.)

 

10. PERSONAL INJURY/WRONGFUL DEATH

 

STATE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE NAME OF
INJURED PERSON OR DECEDENT.

 

 

 

 

 

 

(Please See Attached)
11. WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)

(Please See Attached)

12. (See instructions on reverse.) AMOUNT OF CLAIM (in dollars)

12a, PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause

forfeiture of your rights.)
NIA $1,000,000.00 $3,000,000.00 $4,000,000.00

 

 

 

 

| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN

 

FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM
13b. Phone number of person signing form 14. DATE OF SIGNATURE
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| (Gor 392-We7_ Ads

 

 

  

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. CIVIY PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT’
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for the civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1007.)

$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729.)
95-109 NSN 7540-00-634-4046

 

 

 

 

 
 

INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of his vehicle or property.

 

 

15. Do you carry accidentinsurance? O Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. ONo
N/A

16. Have you filed a claim on your insurance carrier in this instance, and if so, is it full coverage or deductible? CMlYes [No 17. If deductible, state amount.
N/A

 

 

18. if a claim has been fited with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts.)

N/A

 

19. Do you carry public liability and property damage insurance? © Yes if yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). 0 No

NIA

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate claim
form.

Complete ail Items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROMA CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL ~=INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within | The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim Invalid. A claim is
deemed presented when it is received by the appropriate agency, not when it Is (a) In support of the claim for personal injury or death, the claimant should submit a written
mailed. report by the attending physician, showing the nature and extent of injury, the nature and
extent of treatment, the degree of permanent disability, if any, the prognosis, and the period
of hospitalization, or incapacitation, attaching itemized bills for medical, hospital, or burial
If instruction is needed in completing this form, the agency listed in item #1 onthe reverse | expenses actually incurred.

side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published sypplementing regulations. If more than one agency is (b) !n support of claims for damage to property, which has been or can be economically
involved, please state each agency. repaired, the claimant should submit at least two itemized signed statements or estimates by
reliable, disinterested concems, or, if payment has been made, the itemized signed receipts
/ evidencing payment.

The claim may be filed by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the daimant. A claim presented by an agent or legal representative (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or legal the property is ost or destroyed, the claimant should submit statements as to the original cost
representative, it must show the title or legal capacity of the person signing and be | ofthe property, the date of purchase, and the value of the property, both before and after the
accompanied by evidence of his/her authority to present a claim on behaif of the claimant accident. Such statements should be by disinterested competent persons, preferably

as agent, executor, administrator, parent, guardian or other representative. reputable dealers or officials familiar with the type of properly damaged, or by two or more
competitive bidders, and should be certified as being just and correct.

if caimant intends to file for both personal injury and property damage, the amount for each

 

must be shown in item #12 of this form. (d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.
PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and | B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the fetter to which this Notice is attached. C. Routine Use: See the Notices of Systems of Records for the agency to whom you
A. Authority: The requested information is solicited pursuant to one or more of are submitting this form for this information.
the following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply
28 C.F.R. Part 14. the requested information or to execute the form may render your claim “invalid”.

 

 

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per response,
including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. Send
comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts Branch, Attention:
Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, D.C. 20530 or to the Office of Management and Budget. Do not mail completed form(s) to these
addresses.

 

 

SF 95 BACK
Cheryl Ann Buckman

8. Claimant, Vernell Buckman, the natural surviving sister of the decedent,

Cheryl Ann Buckman, is a Native American woman residing upon the Pine Ridge Indian
Reservation. Both Vernell and her deceased sister Cheryl, are and were duly enrolled members
of the Oglala Sioux Indian Tribe in South Dakota. Since the date of Cheryl’s untimely and tragic
death, she had left behind 2 daughters who are having a difficult time with the loss of their
mother. Cheryl was 46 years when she died on January 12, 2007, at her home, which she shared
with her mother, Nellie, and her daughters.

Cheryl Ann Buckman had reported to the Pine Ridge Indian Health Service with
abdomen, epigastric pain for many years dating back as far as April of 2001. She was always
seen, given a GI cocktail, Ranitadine or other medications, and released without any thorough
testing done. Cheryl continuously reported back to the Pine Ridge IHS Hospital and finally in
November 2003 she had a CT scan of the stomach which was allegedly normal and was told that
she might need an endoscopy done. This was never followed up on. Cheryl continued to
experience stomach pain, and had another CT scan done in March of 2006 that was returned as
abnormal for the upper GI. They increased her Prilosec medication and added Bentyul and
prozac. Cheryl continued to suffer from her stomach/abdomen pains up until her admittance in
August of 2007 when she was diagnosed with malignant stricture antrum pancreatitis. The
hospital D/S diagnosis: gastric carcinoma stage IV with extensive local metastaeses, GERD
irritable bowel syndrome with prior history of diarrhea. Had Cheryl been properly tested and
treated, her cancer may have been diagnosed earlier. Cheryl was released home to live out the
remainder of her shortened life in excruciating pain and anxiety, and where she expired on
January 12,2008. Please see attached timeline.

The Estate’s attorney has requested the specific names and titles of IHS officials (doctors, nurses,
PA’s, etc.) involved in Decedent’s care between January 2006 up until her death on January 12,
2008. However, the Government has never responded to said request. (See attached letter to
U.S. Attorney).

10. Claimant Vernell Buckman, Nellie Buckman, mother and the children of her deceased
daughter, Cheryl Ann Buckman, the heirs of the estate of Cheryl Ann Buckman, have suffered
extreme fright, anxiety, pain, suffering, medical cost (past and future), funeral expenses,
emotional distress, anxiety, depression, loss of comfort, loss of companionship, loss of support,
and humiliation as a result of medical negligence of the IHS doctors, nurses and physicians
assistants in failing to reasonably diagnose Cheryl Ann Buckman and her stomach cancer since
the time of her complaints beginning back in 1998 and forward and including the time of her
death on January 12, 2007. Cheryl Ann Buckman, herself, suffered extreme pain and suffering,
mortal pain, anxiety, depression, humiliation, emotional distress, medical cost and related
expenses associated with her suffering, during the time that she was forced to endure the
undiagnosed condition and then ultimately the diagnosed and terminal condition of gastric
pancreatic cancer which invaded her pancreas, which was negligently missed by the IHS medical
personnel. Cheryl’s continued complaints of severe abdominal pain, stomach cramps, nausea,
vomiting and diarrhea, were mainly ignored (back in November 2003 she had CT scan of
stomach and was told she might need endoscopy that was never completed). The standard of
care provided by the medical personnel at the THS-doctors, nurses, ER personal and PA’s, was
far below the standard of medical care appropriate to provide the level of reasonable care that the
claimant and/decedent deserved in order to adequately and reasonably diagnose the decedent with
stomach/pancreatic cancer at an early stage or earlier stage, to more effectively deal with the
cancer situation before it got critical, threatened her life, and ultimately ended up taking her life.
Cheryl’s rights to life, liberty and the pursuit of happiness under the Declaration of
Independence, and the U.S. Constitution, Amendments I, IV, V and XIV were violated. The Pine
Ridge IHS staff violated provisions of the 1868 Fort Laramie Treaty which provides for
reasonable and unharmful medical care be provided to the Sioux people. See also answer to
number 8, above.

11. | Unknown physicians and nurses, PA’s, at Pine Ridge IHS Hospital
P.O. Box 1201
Pine Ridge, SD 57770

Vernell Buckman, Sister
PO Box 665
New Town, ND 58763

The Family of Cheryl Ann Buckman, mother Nellie, siblings, and two daughters, Erica
Buckman and McKenzie Buckman

PO Box 879

Pine Ridge, SD 57770

Dr. John E. Looby, Rapid City Regional Hospital
PO Box 6000
Rapid City, SD 57709

Dr. John Doe #1, Rapid City Regional Hospital
PO Box 6000
Rapid City, SD 57709

Dr. John Doe #2, Rapid City Regional Hospital

PO Box 6000

Rapid City, SD 57709

Various Physicians, physicians assistants and nurses and other healthcare personnel at
Rapid City Regional Hospital, and Rapid City Regional Cancer Care,

Rapid City South Dakota

Dr. John Doe #3, Pine Ridge IHS Hospital, Pine Ridge, South Dakota

Dr. JohnDoe #4, Pine Ridge IHS Hospital, Pine Ridge, South Dakota
Dr. John Doe #5, Pine Ridge IHS Hospital, Pine Ridge, South Dakota

Dr. RM Hanna, Mayo Clinic, Rochester, MN

Ambulance personal, Pine Ridge IHS Hospital, Pine Ridge, South Dakota

Dr. Malin Dollinger, 26235 Birchfeild Ave., Rancho Talos Verdes, CA 90275

It should be noted that the IHS doctors, nurses, physicians, referred to on the records,

cannot readily be identified by clear name and designation because of the inadequacy and the
clarity of the signatories, and because of the IHS’s propensity and practice to switch doctors ona
routine and a frequent basis, for each IHS patient without full discovery and disclosure. A more
thorough list and complete data concerning the names and positions of these individuals, will
certainly be more readily available through full discovery during the claim process.
